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                                                                                    04/26/2022
                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 IN RE:
                                                   Case No. 19-40763
 AL RAHUM ENTERPRISES, LLC                         Chapter 7

                                Debtor

              AGREED ORDER REGARDING TRUSTEE’S OBJECTION
          TO THE CLAIM OF GORDON FOOD SERVICE INC., CLAIM NO. 11

       CAME ON FOR CONSIDERATION the Objection to Claim No. 11 of Gordon Food

Service Inc. (the “Objection”) filed by the Trustee, and the Court finding an agreement has been

reached regarding the Objection, the terms which are contained herein, it is hereby

       ORDERED that in addition to the Chapter 11 administrative claim awarded claimant in

the amount of $8,817.21 pursuant to the Court’s order entered August 20, 2019 [docket #95] in

the administratively consolidated case of International Restaurant Group, LLC. et. al., case no. 19-

40762, Gordon Food Service Inc. shall have an allowed nonpriority unsecured claim in the amount

of $180.00 for purposes of the administration of this case by the Trustee, including the distribution

of funds to claimants following approval of the Trustee’s Final Report.

       IT IS SO ORDERED.


                                                         Signed on 04/26/2022

                                                                                            SD
                                               HONORABLE BRENDA
                                               HONORABLE   BRENDA T.
                                                                   T. RHOADES,
                                                                      RHOADES,
                                               UNITED
                                               CHIEF  STATES
                                                     UNITED   BANKRUPTCY
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                                                                   BANKRUPTCY
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AGREED AS TO FORM
AND SUBSTANCE:

/s/ Mark A. Weisbart                        /s/ Jason M. Torf
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COUNSEL FOR CHAPTER 7 TRUSTEE
